    Case 2:10-cv-01056-LMA-JCW Document 30 Filed 07/27/11 Page 1 of 1




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


JODI BELTEAU                                   CIVIL ACTION

VERSUS                                         NO. 10-1056

BANK OF AMERICA HOME LOANS, ET AL              SECTION "I" (2)



          This Court has been advised that the above-captioned

case has settled.   Counsel are thanked for their assistance.

          New Orleans, Louisiana, this 25th       day of July, 2011.




                                     LANCE M. AFRICK
                                     UNITED STATES DISTRICT JUDGE
